 Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 1 of 9 PageID# 248

                                                                                                ft' t n
                                                                                           .if)j)prN COURT



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                         Ml 3m
                              EASTERN DISTRICT OF VIRGINIA
                                                                                       TA?;fsg«'
                                        Alexandria Division

UNITED STATES OF AMERICA
                                               )
                                               )     No. I:I7CR55
                                               )
ZIA ZAFAR,                                     )
               Defendant.                      )

                                      PLEA AGREEMENT


        G.Zachary TerwilHger, United States Attorney for the Eastern District of Virginia;

Ronald L. Walutes, Jr., Assistant United States Attorney and Jamie B. Perry, Human Rights and

Special Prosecutions Section ofthe Criminal Division; the defendant, Zia Zafar; and the

defendant's counsel have entered into an agreement pursuant to Rule 11 ofthe Federal Rules of

Criminal Procedure. The terms of the agreement are as follows:

       1. Offense and Maximum Penalties

       The defendant agrees to plead guilty to Count One and Count Three ofthe superseding

indictment charging the defendant with Attempted Murder of an Internationally Protected Person

and with Discharging a Firearm During and in Relation to a Crime of Violence, in violation of

Title 18, United States Code, Sections 1116(a),(c) and 924(c). The maximum penalties for this

offense are twenty years for Attempted Murder and life for Discharging a Firearm, a mandatory

minimum term of imprisonment of ten years, a maximum term of life imprisonment, a fine of

$250,000, full restitution, forfeiture of assets as outlined below, special assessments pursuant to

18 U.S.C. § 3013, and five years of supervised release. The defendant understands that this

supervised release term is in addition to any prison term the defendant may receive, and that a

violation of a term of supervised release could result in the defendant being returned to prison for
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 2 of 9 PageID# 249
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 3 of 9 PageID# 250
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 4 of 9 PageID# 251
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 5 of 9 PageID# 252
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 6 of 9 PageID# 253
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 7 of 9 PageID# 254
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 8 of 9 PageID# 255
Case 1:17-cr-00055-AJT Document 76 Filed 07/13/18 Page 9 of 9 PageID# 256
